                 Case 23-10699-CTG              Doc 74       Filed 08/17/23        Page 1 of 5




                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

    In re:                                                     Chapter 11

    AGSPRING, LLC, et al.,1                                    Case No. 23-10699 (CTG)
                                                               (Jointly Administered)
                             Debtors.



    AMENDED2 NOTICE OF AGENDA OF MATTERS SCHEDULED FOR HEARING ON
     AUGUST 18, 2023 AT 10:00 A.M. (EASTERN TIME), BEFORE THE HONORABLE
     CRAIG T. GOLDBLATT AT THE UNITED STATES BANKRUPTCY COURT FOR
     THE DISTRICT OF DELAWARE, LOCATED AT 824 NORTH MARKET STREET,
        6TH FLOOR, COURTROOM NO. 2, WILMINGTON, DELAWARE 19801


          THIS HEARING WILL BE CONDUCTED IN-PERSON. ALL PARTIES,
     INCLUDING WITNESSES, ARE EXPECTED TO ATTEND IN PERSON UNLESS
     PERMITTED TO APPEAR VIA ZOOM. PARTICIPATION AT THE IN-PERSON
    COURT PROCEEDING USING ZOOM IS ALLOWED ONLY IN THE FOLLOWING
        CIRCUMSTANCES: (I) A PARTY WHO FILES A RESPONSIVE PLEADING
     INTENDS TO MAKE ONLY A LIMITED ARGUMENT; (II) A PARTY WHO HAS
       NOT SUBMITTED A PLEADING BUT IS INTERESTED IN OBSERVING THE
           HEARING; OR (III) OTHER EXTENUATING CIRCUMSTANCES AS
      DETERMINED BY JUDGE GOLDBLATT. ALL PARTICIPANTS OVER ZOOM
               MUST REGISTER IN ADVANCE. PLEASE REGISTER BY
                      AUGUST 17, 2023, AT 4:00 P.M. (EST).

    https://debuscourts.zoomgov.com/meeting/register/vJIsce2qrjssGJaEplTPKdUNIvHsf1mQKM0

      YOU MUST USE YOUR FULL NAME WHEN LOGGING INTO ZOOM OR YOU
                 WILL NOT BE ALLOWED INTO THE MEETING.

                              Topic: Agspring, LLC/23-10699 (CTG)
                         Time: August 18, 2023 at 10:00 A.M. Eastern Time




1
  The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, are: Agspring, LLC (7735); Agspring Idaho 1 LLC (1720); Agspring Idaho LLC (8754); FO-ND LLC, dba
Firebrand Artisan Mills (1520); Agspring Logistics LLC, dba Agforce (6067); and Agspring Idaho 2 LLC (9262).
The Debtors’ mailing address is 5101 College Boulevard, Leawood, KS 66211.
2
    Amended items appear in bold.

DOCS_DE:244219.5 01213/002
                 Case 23-10699-CTG        Doc 74     Filed 08/17/23    Page 2 of 5




RESOLVED MATTERS

1.      PSZJ Retention Application – Debtors’ Application for Authorization to Employ and
        Retain Pachulski Stang Ziehl & Jones LLP as Co-Counsel for the Debtors Effective as of
        the Petition Date [Filed: 6/30/23] (Docket No. 24).

        Response Deadline:     August 11, 2023 at 4:00 p.m. Eastern Time.

        Responses Received:

        a)       Informal comments from the UST.

        Related Documents:

        a)       Notice of Debtors’ Application for Authorization to Employ and Retain Pachulski
                 Stang Ziehl & Jones LLP as Co-Counsel for the Debtors Effective as of the
                 Petition Date [Filed: 7/28/23] (Docket No. 51).

        b)       Supplemental Declaration of Laura Davis Jones in Support of Debtors’
                 Application for Authorization to Employ and Retain Pachulski Stang Ziehl &
                 Jones LLP as Co-Counsel for the Debtors Effective as of the Petition Date [Filed:
                 8/10/23] (Docket No. 56).

        c)       Certification of Counsel Regarding Debtors’ Application for Authorization to
                 Employ and Retain Pachulski Stang Ziehl & Jones LLP as Co-Counsel for the
                 Debtors Effective as of the Petition Date [Filed: 8/14/23] (Docket No. 64).

        d)       [Signed] Order Authorizing the Employment and Retention of Pachulski Stang
                 Ziehl & Jones LLP as Co-Counsel for the Debtors Effective as of the Petition
                 Date [Filed: 8/16/23] (Docket No. 67).

        Status: The order has been entered. No hearing will be necessary.

2.      MERU Retention Motion – Debtors’ Motion to Retain and Employ MERU, LLC to
        Provide a Chief Restructuring Officer and Additional Personnel as of the Petition Date
        [Filed: 6/30/23] (Docket No. 25).

        Response Deadline:     August 11, 2023 at 4:00 p.m. Eastern Time.

        Responses Received:

        a)       Informal comments from the UST.

        Related Documents:

        a)       Notice of Debtors’ Motion to Retain and Employ MERU, LLC to Provide a Chief
                 Restructuring Officer and Additional Personnel as of the Petition Date [Filed:
                 7/28/23] (Docket No. 52).

                                                 2
DOCS_DE:244219.5 01213/002
                 Case 23-10699-CTG         Doc 74     Filed 08/17/23     Page 3 of 5




        b)       Certification of Counsel Regarding Debtors’ Motion to Retain and Employ
                 MERU, LLC to Provide a Chief Restructuring Officer and Additional Personnel
                 as of the Petition Date [Filed: 8/14/23] (Docket No. 65).

        c)       [Signed] Order Granting Debtors’ Motion for Entry of an Order (I) Authorizing
                 the Debtors to (A) Retain MERU, LLC to Provide the Debtors with a Chief
                 Restructuring Officer and Additional Staff and (B) Designating Kyle Sturgeon as
                 Chief Restructuring Officer for the Debtors, in Each Case Effective as of The
                 Petition Date, And (Ii) Granting Related Relief [Filed: 8/16/23] (Docket No. 68).

        Status: The order has been entered. No hearing will be necessary.

3.      Matrix Motion – Debtors’ Motion Seeking Entry of an Order (I) Authorizing the
        Debtors to Redact Certain Personally Identifiable Information for Individual Creditors
        and Interest Holders and (II) Granting Related Relief [Filed: 6/12/23] (Docket No. 14).

        Response Deadline:      August 11, 2023 at 4:00 p.m. Eastern Time.

        Responses Received:

        a)       Informal comments from the Office of the United States Trustee (the “UST”).

        Related Documents:

        a)       Notice of Debtors’ Motion Seeking Entry of an Order (I) Authorizing the Debtors
                 to Redact Certain Personally Identifiable Information for Individual Creditors and
                 Interest Holders and (II) Granting Related Relief [Filed: 7/28/23] (Docket No.
                 50).

        b)       Certification of No Counsel Regarding Debtors’ Motion Seeking Entry of an
                 Order (I) Authorizing the Debtors to Redact Certain Personally Identifiable
                 Information for Individual Creditors and Interest Holders and (II) Granting
                 Related Relief [Filed: 8/15/23] (Docket No. 66).

        c)       [Signed] Order (I) Authorizing the Debtors to Redact Certain Personally
                 Identifiable Information for Individual Creditors and Interest Holders and (II)
                 Granting Related Relief [Filed: 8/16/23] (Docket No. 69).

        Status: The order has been entered. No hearing will be necessary.

CONTINUED MATTER

4.      Dentons Retention Application – Application Pursuant to Section 327(a) of the
        Bankruptcy Code, Rule 2014 of the Federal Rules of Bankruptcy Procedure and Local
        Rule 2014-1 for Authorization to Employ and Retain Dentons US LLP as Counsel for the
        Debtors and Debtors in Possession Effective as of the Petition Date [Filed: 7/28/23]
        (Docket No. 53).

                                                  3
DOCS_DE:244219.5 01213/002
                 Case 23-10699-CTG       Doc 74     Filed 08/17/23   Page 4 of 5




        Response Deadline: August 11, 2023 at 4:00 p.m. Eastern Time. Extended to August
        16, 2023 for the UST.

        Responses Received: Informal comments from the UST.

        Related Documents: None as of the date hereof.

        Status: This matter has been continued to the hearing scheduled on September 6,
        2023 at 10:00 a.m. Eastern Time.

MATTERS UNDER CERTIFICATION

5.      Cash Management Motion – Debtors’ Motion for Entry of an Order (A) Authorizing
        the Maintenance and Closure of Certain Bank Accounts and Continued Use of Existing
        Checks, (B) Authorizing the Continued Use of Existing Cash Management System, and
        (C) Granting Limited Relief from the Requirements of Bankruptcy Code Section 345(b)
        [Filed: 7/28/23] (Docket No. 54).

        Response Deadline: August 11, 2023 at 4:00 p.m. Eastern Time. Extended to August
        16, 2023 for the UST.

        Responses Received: Informal comments from the UST.

        Related Documents:

        a)       Certification of Counsel Regarding Debtors’ Motion for Entry of an Order (A)
                 Authorizing the Maintenance and Closure of Certain Bank Accounts and
                 Continued Use of Existing Checks, (B) Authorizing the Continued Use of
                 Existing Cash Management System, and (C) Granting Limited Relief from the
                 Requirements of Bankruptcy Code Section 345(b) [Filed: 8/16/23] (Docket No.
                 70).

        b)       [Signed] Order (A) Authorizing the Maintenance and Closure of Certain
                 Accounts and Continued Use of Existing Checks, (B) Authorizing the
                 Continued Use of Existing Cash Management System, and (C) Granting
                 Limited Relief from the Requirements of Bankruptcy Code Section 345(b)
                 [Filed: 8/16/23] (Docket No. 72).

        Status: The order has been entered. No hearing will be necessary.

6.      Cash Collateral Motion – Debtors’ Motion for Entry of Order (1) Approving Stipulation
        Authorizing Use of Cash Collateral, (2) Granting Adequate Protection, (3) Modifying the
        Automatic Stay and (4) Granting Related Relief [Filed: 7/28/23] (Docket No. 55).

        Response Deadline: August 11, 2023 at 4:00 p.m. Eastern Time. Extended to August
        16, 2023 for the UST.



                                                4
DOCS_DE:244219.5 01213/002
                 Case 23-10699-CTG      Doc 74      Filed 08/17/23   Page 5 of 5




        Responses Received: Informal comments from the UST; informal comments from NGP
        X US Holdings.

        Related Documents:

        a)       Certification of Counsel Regarding Debtors’ Motion for Entry of Order (1)
                 Approving Stipulation Authorizing Use of Cash Collateral, (2) Granting
                 Adequate Protection, (3) Modifying the Automatic Stay and (4) Granting
                 Related Relief [Filed: 8/17/23] (Docket No. 73).

        Status: A revised proposed order has been filed under certification of counsel. The
        Debtors request entry of the order attached to the certification of counsel. No
        hearing will be necessary unless the Court has any questions.



Dated: August 17, 2023                      PACHULSKI STANG ZIEHL & JONES LLP

                                            /s/ Laura Davis Jones
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                                            Proposed Counsel for Debtors and Debtors in
                                            Possession




                                               5
DOCS_DE:244219.5 01213/002
